                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                             AT GREENEVILLE
   UNITED STATES OF AMERICA

          v.                                                                    No. 2:17CR12

   JEREMY WILSON

               MOTION TO FILE SENTENCING MEMORANDUM UNDER SEAL

          COMES NOW Defendant, by and through counsel, and would respectfully request that

   his Sentencing Memorandum and attached exhibits be filed under seal. In support the Defendant

   would show that the Sentencing Memorandum and any attached letters reference confidential

   matters about the Defendant and should not be open to public inspection.

                                                 Respectfully submitted:

                                                 JEREMY WILSON

                                                 By: /s/ Aaron Chapman
                                                 Aaron J. Chapman, BPR No. 28428
                                                 Attorney for Defendant
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                                    CERTIFICATE OF SERVICE

           I certify that the foregoing was served on the following entities on the date noted in the
   footer via the Court’s Electronic Case Filing System. Other interested parties will be served by
   First Class U.S. Mail, postage prepaid, facsimile, or by other approved method of delivery.


                                                 /s/ Aaron Chapman




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